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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 KOSS CORPORATION,
                  Plaintiff,                  Case No. 6:20-cv-00665-ADA
          v.
                                              JURY TRIAL DEMANDED
 APPLE INC.,
                  Defendant


         PLAINTIFF KOSS CORPORATION’S MOTIONS IN LIMINE (NOS. 1-17)




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       Plaintiff Koss Corporation (“Koss” or “Plaintiff”) respectfully moves in limine to preclude

Defendant Apple Inc. (“Apple” or “Defendant”) from offering evidence, argument, or testimony

as specified below:

1.     PRECLUDE APPLE FROM RAISING ANY ARGUMENT, EVIDENCE,
       TESTIMONY, INSINUATION, REFERENCE, OR ASSERTION REGARDING
       PLAINTIFF’S OVERALL SIZE, SALES, REVENUE, NET WORTH, OR VALUE.

       Apple should be precluded from presenting, arguing, or eliciting any information related

to Koss’ size, overall sales, revenue, net worth, or value. The information related to Koss’ financial

and business operations have little probative value, if any at all, and is substantially outweighed

by the prejudice caused by revealing such information to a jury. This court has previously

precluded parties from introducing financial and business related information. See, e.g.,

CloudofChange LLC v. NCR Corporation, No. 6-19-CV-00513-ADA, Dkt. No. 204 at 5 (W.D.

Tex. Nov. 8, 2021) (precluding argument, evidence, or questions concerning a party’s overall

economic status or total revenue/profits); LaserDynamics, Inc. v. Quanta Comp., 694 F.3d 51, 68

(Fed. Cir. 2012).

2.     PRECLUDE APPLE FROM RAISING ANY ARGUMENT, EVIDENCE,
       TESTIMONY, INSINUATION, REFERENCE, OR ASSERTION REGARDING
       APPLE’S PATENTS ON ANY OF ITS PRODUCTS

       This Court should preclude Apple from raising any argument, introducing testimony, or

eliciting testimony regarding Apple’s patents on any of its products. Any introduction of evidence

relating to Apple’s patents would only confuse the jury and suggest that Defendant cannot infringe

Koss’ patents due to its ownership of patents related to the Accused Products, which is improper.

See Bio-Tech. Gen. Corp. v. Genentech, Inc., 80 F.3d 1553, 1559 (Fed. Cir. 1996) (“[T]he

existence of one’s own patent does not constitute a defense to infringement of someone else’s

patent.”). Any argument or testimony that identifies any patent as belonging to Apple and covering

any accused product, including patents identified as prior art in the case, would give rise to an
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improper and prejudicial inference in the minds of the jury that Apple’s products cannot infringe

Koss’ patents because Apple has a patent to those products.

3.     PRECLUDE APPLE FROM RAISING ANY ARGUMENT, EVIDENCE,
       TESTIMONY, INSINUATION, REFERENCE, OR ASSERTION REGARDING
       ALLEGATIONS THAT INDIVIDUAL CLAIM ELEMENTS WERE IN THE
       PRIOR ART

       This Court should preclude Apple from presenting evidence or arguing that individual

claim elements were known in the prior art. As the Federal Circuit has stated, “mere identification

in the prior art of each element is insufficient to defeat the patentability of the combined subject

matter as a whole.” In re Kahn, 441 F.3d 977, 986 (Fed. Cir. 2006). Any analysis presented by

Apple, other than an opinion clearly stating that it would be obvious to combine the individual

claim elements as arranged in the Patents-in-Suit, should be excluded as contrary to the law, would

bias the jury, and unfairly prejudice Koss.

4.     PRECLUDE APPLE FROM PRESENTING ANY EVIDENCE OR ANALYSIS
       COMPARING THE PREFERRED EMBODIMENTS TO THE ACCUSED
       PRODUCTS

       Apple should be precluded from arguing, presenting evidence, or eliciting testimony that

compares the preferred embodiments of the Patents-in-Suit to the Accused Products. “[I]t is error

for a court to compare in its infringement analysis the accused product or process with the

patentee’s commercial embodiment or other version of the product or process; the only proper

comparison is with the claims of the patent.” Zenith Labs., Inc. v. Bristol-Myers Squibb Co., 19

F.3d 1418 , 1423 , 30 USPQ2d 1285 , 1289 (Fed. Cir. 1994). Likewise, Apple should be precluded

from comparing the Accused Products to a preferred embodiment of any of the Patents-in-Suit

because “[I]nfringement is to be determined by comparing the asserted claim to the accused device,

not by comparing the accused device to the figures of the asserted patent.” Catalina Lighting v.

Lamps Plus, 295 F.3d 1277, 1286 (Fed. Cir. 2002). To allow Apple to present such an argument

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or evidence would confuse the jury and prejudice Koss, greatly outweighing any claimed probative

value.

5.       PRECLUDE APPLE FROM RAISING ANY ARGUMENT, EVIDENCE,
         TESTIMONY, INSINUATION, REFERENCE, OR ASSERTION THAT THE
         PATENTS-IN-SUIT MUST ENCOMPASS NEW FEATURES OF THE ACCUSED
         PRODUCTS

         Koss believes that Apple will improperly seek to weaponize its own patents as a defense

to liability. This tactic would involve the presentation of evidence and testimony of Defendant’s

own patents and applications, which are not relevant to any issue in this case and are thus highly

prejudicial under Fed. R. Evid. 402 and 403.

         Any argument or evidence on any of Defendants’ patents or patent applications has no

relevance and creates a high risk of confusing the jury by inviting the improper inference that just

because Defendants have related patents or applications Defendants somehow cannot or should

not be liable for patent infringement here. See Fed. R. Evid. 402-403; Zenith Elecs. Corp. v. PDI

Comm. Sys., 522 F.3d 1348, 1363 (Fed. Cir. 2008) (“[A]ccused infringers are not free to flout the

requirement of providing invalidity by clear and convincing evidence by asserting a ‘practicing

the prior art’ defense”); Bio-Tech. Gen. Corp. v. Genentech, Inc., 80 F.3d 1553, 1559 (Fed. Cir.

1996) (the “existence of one’s own patent does not constitute a defense to infringement of someone

else’s patent”). Other district courts have granted similar in limine motions. Two-Way Media LLC

v. AT&T Operations, Inc., No. 5:09-cv-00476-OLG (W.D. Tex. Feb. 27, 2013) (Dkt. Nos. 426,

501) (granting motion in limine no. 23 preventing argument regarding “[Defendant’s] Patents or

Patent Applications as a Defense to Infringement”); Retractable Techs., Inc. v. Becton, Dickenson

& Co., No. 2:07-cv-250, 2009 WL 8725107, at *7 (E.D. Tex. Oct. 8, 2009); see also Fiskars, Inc.

v. Hunt Mfg. Co., 221 F.3d 1318, 1324 (Fed. Cir. 2000) (a defendant’s patent on its accused product




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is “evidence not material to the issue of infringement”). There is no relevant, non-prejudicial use

of Defendant’s own patents and applications in this case.

6.     PRECLUDE APPLE FROM RAISING ANY ARGUMENT, EVIDENCE,
       TESTIMONY, OR REFERENCE TO PERSONAL STOCK TRANSACTIONS OF
       ANY CURRENT OR FORMER EMPLOYEE OF KOSS

       Apple should be precluded from arguing, presenting evidence, or eliciting testimony

relating to the previous or current personal financial status of any current or former employee of

Koss. The exclusion of subject matter should include any reference to Koss stock and its

fluctuation that may mimic or differ from market trends. Specifically, Apple should be excluded

from mentioning the GameStop incident on the New York Stock Exchange in 2021 caused by

Reddit users. Any mention of personal stock transactions and/or the GameStop stock incident

would be highly prejudicial to Koss as such arguments are wholly irrelevant, provide no probative

value, and only serve to cause jury confusion. See Fed. R. Evid. 401-403; Smartflash LLC v. Apple

Inc, No. 6:13-CV-447-JRG-KNM, 2015 WL 11089593, at *2 (E.D. Tex. Jan. 29, 2015) (granting

motion in limine excluding “any testimony, evidence, or argument during trial referencing the

compensation or stock holdings of any current or former Apple employee, including Tim Cook.”).

7.     PRECLUDE APPLE FROM RAISING ANY ARGUMENT, EVIDENCE,
       TESTIMONY, INSINUATION, REFERENCE, OR ASSERTION MAKING
       REFERENCE TO ANY PRIOR ART AND ANY THEORY OF INVALIDITY NOT
       SET FORTH IN APPLE’S FINAL INVALIDITY CONTENTIONS AS
       NARROWED

       The Court should exclude any evidence or argument based on non-elected prior art and any

prior art Apple attempted to or did assert after November 4, 2021, the original end of the fact

discovery period. Apple’s attempt to bolster its prior art in this matter is untimely and improper.

Apple’s effort to make arguments about non-elected prior art, including any attempt to discuss

non-elected prior art to show the state of the art, would be unfair and prejudicial to Koss. See Fed.

R. Evid. 401–403. Courts regularly exclude such matter. See Intellectual Ventures II LLC v. FedEx
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Corp., No. 2:16-CV-00980-JRG, 2018 WL 10638138, at *2 (E.D. Tex. Apr. 26, 2018) (excluding

non-asserted prior art and requiring Defendants to obtain leave before using ‟prior art that is

outside of the previously elected prior art invalidity case in order to show relevant background

information at trial”).

8.      PRECLUDE APPLE FROM RAISING ANY ARGUMENT, EVIDENCE,
        TESTIMONY, OR ASSERTION THAT COMPARES THE ACCUSED PRODUCTS
        TO PRIOR ART, OR ALLEGATION THAT DEFENDANT DOES NOT INFRINGE
        BECAUSE IT PRACTICES THE PRIOR ART

        Apple’s expert reports and deposition testimony confirm that they intend to confuse and

mislead the jury with legally irrelevant arguments that Apple does not infringe or should not be

held liable for infringement because its accused products somehow practice the prior art. Any

attempted comparison of the accused products to the prior art is legally improper. “It is well

established, however, that ‘practicing the prior art’ is not a defense to infringement.” In re

Omeprazole Patent Litig., 536 F.3d 1361, 1377 (Fed. Cir. 2008) (rejecting defendant’s argument

that it did not infringe because “its manufacturing process merely practices the prior art”); see also

Tate Access Floors, Inc. v. Interface Architectural Res., Inc., 279 F.3d 1357, 1365-69 (Fed. Cir.

2020) (improper for Defendant to claim it practiced prior art or obvious variations of the prior art).

Indeed, “the fact that the patentee happens to be practicing the prior art is irrelevant” to an

infringement analysis. Tate Access, 279 F.3d at 1367.

        Koss believes that Apple may argue this testimony is relevant to validity. This argument

is impermissible and conflates non-infringement and invalidity, causing substantial jury confusion.

“[A]ccused infringers are not free to flout the requirement of proving invalidity by clear and

convincing evidence by asserting a ‘practicing prior art’ defense to literal infringement under the

less stringent preponderance of the evidence standard.” Tate Access, 279 F.3d at 1367.

9.      PRECLUDE THE PARTIES FROM RELYING UPON OR INTRODUCING ANY
        DOCUMENTS PRODUCED AFTER THE CLOSE OF FACT DISCOVERY
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       This Court should preclude the parties from introducing or relying upon any documents

produced after the close of fact discovery, whether produced by Koss, Apple or any third party.

Fact discovery closed on November 4, 2021, and was extended only for a limited purpose. Any

documents produced after this date (and not related to that limited purpose) are not timely disclosed

and should be excluded. Courts have previously excluded a party’s reliance upon documents

produced after the close of fact discovery. Implicit, LLC v. NetScout Sys., Inc., No. 2:18-CV-

00053-JRG, 2019 WL 6873030, at *3 (E.D. Tex. Nov. 21, 2019) (excluding the late production of

source code). Similarly, this Court should preclude any such reliance upon documents produced

after the close of fact discovery.

10.    PRECLUDE ANY ARGUMENT OR TESTIMONY CONCERNING THE
       PERSONAL NET WORTH OF ANY WITNESS OR OF ANY OWNER (DIRECT
       OR INDIRECT), SHAREHOLDER, DIRECTOR, OFFICER, AND/OR
       EMPLOYEE OF EITHER PARTY

       Apple should be precluded from introducing or eliciting any evidence, testimony, or

argument concerning the personal net worth of any witness or of any owner (direct or indirect),

shareholder, director, officer, and/or employee of either party. The net worth of these individuals

bears no relevance to the parties’ claims or defenses and has a high risk of confusing or misleading

the jury. Fed. R. Evid. 403. Courts have excluded this type of information due to its lack of

relevance. See, e.g., Mobile Telcomms. Techs. v. ZTE United States, Inc., No. 2:13-CV-946-JRG,

2016 U.S. Dist. LEXIS 184653, at *9 (E.D. Tex. July 21, 2016).

11.    PRECLUDE ANY APPLE FACT WITNESS FROM OFFERING EXPERT
       TESTIMONY, OPINIONS, OR LEGAL CONCLUSIONS

       This Court should preclude any of Apple’s fact witnesses from offering expert testimony,

opinions, or legal conclusions. Koss believes that Apple intends to elicit testimony from Apple

engineers about the state of the art, their understanding of prior art references, and their

understanding and opinions regarding the patent claims, infringement, and invalidity. Fact

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witnesses should be limited to testimony regarding facts rather than proffering expert testimony or

legal conclusions outside of the scope of Fed. R. Evid. 701. Any witness not disclosed as an expert

under Fed. R. Civ. P. 26(a)(2) should be precluded from offering any expert opinion or testimony

that is “based on scientific, technical, or other specialized knowledge within the scope of Rule

702.” Fed. R. Evid. 701. Indeed, “a person may testify as a lay witness only if his opinions or

inferences do not require any specialized knowledge and could be reached by any ordinary

person.” 360 Mortg. Grp., LLC v. Homebridge Fin. Servs., Inc., No. A-14-CA-00847-SS, 2016

BL 373193, at *3 (W.D. Tex. May 6, 2016); Cybergym Research, LLC v. ICON Health and

Fitness, Inc., No. 2:05-CV-527 (DF), 2007 WL 9724237, at *2 (E.D. Tex. Oct. 7, 2007) (granting

motion in limine in part to preclude lay witness opinions based on specialized knowledge).

12.    PRECLUDE ANY ARGUMENT, QUESTIONING, OR REFERENCE TO PAUL
       CLARK’S PRIOR LITIGATION WITH DOCUSIGN

       Apple should be precluded from making any argument, eliciting testimony, or referring to

the existence of or allegations made in an unrelated litigation between Koss’ expert, Dr. Paul Clark

and DocuSign. This topic bears no relevance to the parties’ claims or defenses and has a high risk

of confusing or misleading the jury, therefore it should be excluded under Fed. R. Evid. 403.

13.    PRECLUDE APPLE FROM ARGUING OR INSINUATING THAT THE
       WILLINGNESS TO PAY FOR THE ACCUSED FEATURE WHEN ADDED UP
       WITH OTHER FEATURES CANNOT EXCEED THE PRICE OF THE PRODUCT

       Apple should be precluded from making any argument, eliciting testimony, or insinuating

that Koss’ royalty rate is unreasonable because it would not have permitted Apple to make a profit

on the accused products. It is improper for Apple to argue that it is entitled to make a profit on an

accused product by insinuating that a royalty cannot be reasonable if the value attributable to the

patented feature (royalty) in combination with remaining features of the product exceeds the

purchase price of the product. “[A]lthough an infringer’s anticipated profit from use of the patented

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invention is ‘[a]mong the factors to be considered in determining’ a reasonable royalty, see

Georgia-Pacific, 318 F. Supp. at 1120, the law does not require that an infringer be permitted to

make a profit.” Monsanto Co. v. Ralph, 382 F.3d 1374, 1384 (Fed. Cir. 2004); see also Mars, Inc.

v. Coin Acceptors, Inc., 527 F. 3d 1359, 1374 (Fed. Cir. 2008).

14.     PRECLUDE ANY TESTIMONY REFERRING TO THE VALUE OF THE
        TECHNOLOGY IN THE ALLEGEDLY COMPARABLE LICENSES TO THE
        VALUE OF THE PATENTS IN SUIT

        Apple should be precluded from making any argument or eliciting testimony that compares

the value of the patents and technology in allegedly comparable licenses to the value of the

Asserted Patents. Apple’s damages expert, Thomas W. Britven, relies upon statements from

Apple’s technical expert, Mr. Wiggins, for valuations of the Asserted Patents and of the technology

in the purportedly comparable licenses. See, e.g., April 5, 2022 Britven Report, ¶ 132 (Dkt. No.

188-1). However, Mr. Wiggins has no training, education, or expertise in patent valuation. His

statements and opinions are unfounded and it is improper for Mr. Britven to rely on them. These

statements would only serve to confuse the jury and unfairly prejudice Koss. See Fed. R. Evid.

403.

15.     PRECLUDE ANY TESTIMONY OR EVIDENCE ABOUT PRIOR ART FROM
        APPLE WITNESSES OUTSIDE THE SCOPE OF THEIR DISCLOSED
        KNOWLEDGE

        Apple should be precluded from introducing any evidence, testimony, or argument from

Apple witnesses that is outside the scope of their disclosed knowledge regarding Apple patents,

prior art, or the state of the prior art. Apple may attempt to bolster its invalidity case by introducing,

for the first time at trial, testimony from Apple engineers about prior art they have not previously

testified about or admitted to having any knowledge thereof. All such knowledge and testimony




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should have been disclosed during discovery and it is prejudicial to Koss to be sandbagged with

new testimony for the first time at trial.

16.     PRECLUDE ANY ARGUMENT OR TESTIMONY REGARDING UNDISCLOSED
        NON-INFRINGING ALTERNATIVES

        Any discussion of previously undisclosed non-infringing uses of the Accused Products,

including any mention of the Apple iOS 15 update, will tend to confuse the jury. Argument,

testimony, and discussion of undisclosed non-infringing alternatives risks confusing the jury and

improperly inferring that the existence of non-infringing uses supports or establishes that the

products do not infringe. Non-infringing uses are probative only of the value of the patent and

undisclosed non-infringing uses should be excluded as unduly prejudicial under Fed. R. Evid. 403.

17.     PRECLUDE ANY ARGUMENT, EVIDENCE, TESTIMONY, OR REFERENCE
        TO THE CLAIM THAT APPLE HAS NEVER RELIED ON A CONJOINT
        SURVEY OUTSIDE CONTEXT OF LITIGATION AS INFORMING THE
        HYPOTHETICAL NEGOTIATION

        Apple should be precluded from presenting any argument, evidence, testimony, or

reference to the claim that it has never relied on a conjoint survey outside of litigation as informing

the hypothetical negotiation. Koss seeks to preclude Apple from making this claim because it is

not true, as testified by Apple’s survey expert, Dr. Itamar Simonson. Ex. A, May 3, 2022 Simonson

Deposition Transcript, 121:3-13 (“

                                                                                              ”). Any

attempt by Apple to state or infer otherwise to the jury would be prejudicial to Koss and should be

excluded.




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Dated: June 10, 2022                     Respectfully submitted,

                                         /s/ Darlene F. Ghavimi
Peter E. Soskin (pro hac vice)           Darlene F. Ghavimi
K&L GATES LLP                            Texas Bar No. 24072114
4 Embarcadero Center, Suite 1200         K&L GATES LLP
San Francisco, CA 94111                  2801 Via Fortuna, Suite #650
Tel: (415) 882-8200                      Austin, TX 78746
Fax: (415) 882-8220                      Tel: (512) 482-6800
peter.soskin@klgates.com                 Fax: (512) 482-6859
                                         darlene.ghavimi@klgates.com

Christopher J. Valente (pro hac vice)    Jim Shimota (pro hac vice)
K&L GATES LLP                            Benjamin E. Weed (pro hac vice)
One Lincoln Street                       Philip A. Kunz (pro hac vice)
Boston, MA 02111                         Gina A. Johnson (pro hac vice)
Tel: (617) 951-9071                      Melissa M. Haulcomb (pro hac vice)
Fax: (617) 261-3175                      Amanda C. Maxfield (pro hac vice)
christopher.valente@klgates.com          K&L GATES LLP
                                         70 W. Madison Street, Suite 3100
David R. Fine (pro hac vice)             Chicago, IL 60602
K&L Gates LLP                            Tel: (312) 372-1121
Market Square Plaza                      Fax: (312) 827-8000
17 North Second St., 18th Fl.            jim.shimota@klgates.com
Harrisburg, PA 17101                     benjamin.weed@klgates.com
Tel: (717) 231-5820                      philip.kunz@klgates.com
Fax: (717) 231-4501                      gina.johnson@klgates.com
david.fine@klgates.com                   melissa.haulcomb@klgates.com
                                         amanda.maxfield@klgates.com
David N. Deaconson
Texas Bar No. 05673400
PAKIS, GIOTES, PAGE
& BURLESON, P.C.
400 Austin Ave, Suite 400                ATTORNEYS FOR
Waco, Texas 76701                        KOSS CORPORATION
Tel: (254) 297-7300
deaconson@pakislaw.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2022, a true and correct copy of the foregoing document

was served on all counsel of record who have consented to electronic notifications.

                                                    /s/ Darlene F. Ghavimi
                                                    Darlene F. Ghavimi




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